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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Johnnie Lee Savory
                                 Plaintiff,
v.                                                     Case No.: 1:17−cv−00204
                                                       Honorable Gary Feinerman
Charles Cannon, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 9, 2017:


         MINUTE entry before the Honorable Gary Feinerman:Unopposed motion to
appoint and substitute a special representative [38] is granted. The City Clerk of Peoria,
Illinois, Beth Ball, is appointed as special representative for the purposes of defendant
Plaintiff's claims against Defendants Russell Buck, Peter Gerontes, and John Timmes.
Beth Bell, Special Representative of Russell Buck, is substituted as a party defendant for
Russell Buck. Beth Bell, Special Representative of Peter Gerontes, is substituted as a
party defendant for Peter Gerontes. Beth Bell, Special Representative of John Timmes, is
substituted as a party defendant for John Timmes. Motion hearing set for 3/15/2017 [39] is
stricken.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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